        Case 4:08-cr-00177 Document 332 Filed on 02/04/10 in TXSD Page 1 of 4




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


UNITED STATES OF AMERICA                                                  §
                                                                          §
v.                                                                        §   CRIMINAL NO. H-08-177
                                                                          §
RAKESH PATEL                                                              §


                                              MEMORANDUM AND ORDER

           This criminal prosecution is before the Court on Defendant Rakesh Patel’s

Motion for Evidentiary Hearing and Resentencing (“Motion for Resentencing”) [Doc.

# 297], to which the United States filed a Response in Opposition [Doc. # 322], and

Rakesh Patel’s Motion for the Withdrawal of the Court’s Order to Surrender [Doc. #

315], to which the United States filed a Response in Opposition [Doc. # 326]. The

Court has reviewed the record in this case, including the motions and the responses.

Based on this review and the application of relevant legal authorities, the Court denies

Rakesh Patel’s motions.

           On November 21, 2008, Rakesh Patel entered a plea of guilty to one count of

conspiracy to encourage and induce illegal immigration and commit visa fraud. See

Rearraignment Minutes [Doc. # 132]; Plea Agreement [Doc. # 134].                                      On

December 14, 2009, the Court sentenced Rakesh Patel to a term of imprisonment for


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        Case 4:08-cr-00177 Document 332 Filed on 02/04/10 in TXSD Page 2 of 4




fifteen (15) months, a sentence three months below the advisory Guideline range of

18 to 24 months. The written Judgment in a Criminal Case [Doc. # 301] was signed

by the Court on December 23, 2009.

           On December 28, 2009, Defendant filed his Motion for Resentencing asking the

Court to “reconsider his fifteen-month prison sentence” and to reduce his sentence to

a term of probation, house arrest, or a lesser sentence. See Motion for Resentencing,

p. 17.

           Title 18, United States Code, section 3582(c) provides that a “court may not

modify a term of imprisonment once it has been imposed except” in very limited

circumstances. 18 U.S.C. § 3582(c); United States v. Marion, 79 F. App’x 46 (5th

Cir. Oct. 22, 2003). Section 3582(c)(1)(A) permits a Court to modify a term of

imprisonment on motion of the Bureau of Prisons, § 3582(c)(1)(B) permits a Court

to reduce a sentence to the extent provided by Rule 35 of the Federal Rules of

Criminal Procedure or other applicable statute, and § 3582(c)(2) allows the Court to

reduce a sentence imposed pursuant to the Sentencing Guidelines if the sentencing

range has subsequently been lowered by the Sentencing Commission. Id. Defendant

does not cite the Court to or argue the applicability any of the exceptions, and the

Court finds that none apply in this case. Fundamentally, in the sentencing context

“there is simply no such thing as a ‘motion to reconsider’ an otherwise final sentence.”


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        Case 4:08-cr-00177 Document 332 Filed on 02/04/10 in TXSD Page 3 of 4




United States v. Houston, 529 F.3d 743, 753 n.2 (6th Cir. 2008) (quoting United

States v. Dotz, 455 F.3d 644, 648 (6th Cir. 2006)). Consequently, the Court is without

jurisdiction to entertain Defendant’s Motion for Resentencing. See Marion, 79 F.

App’x at 46.

           The Court notes for purposes of a complete record that, even if there were

jurisdiction to consider Defendant’s Motion for Resentencing, the Court would deny

the requested relief. Contrary to Defendant’s current assertion that he was coerced

by Co-Defendants into engaging in the alleged criminal conduct, Defendant admitted

in connection with his plea of guilty that he engaged in the conduct that forms the

basis for his conviction in order to assist his family members to gain entry into the

United States. See Plea Agreement, pp. 9-12. Defendant’s argument that “Mack

Patel’s Lies” influenced the Court’s decision regarding the appropriate sentence for

Rakesh Patel is also without merit. Indeed, the Court rejected Mack Patel’s assertion

that Rakesh Patel signed a relevant document, and it sentenced Rakesh Patel

independently from any assertions by Mack Patel. The Court properly calculated the

applicable Guideline range, concluding based on the full record that Rakesh Patel did

not qualify as a minor or minimal participant in the conspiracy. Defendant’s

complaint that certain Co-Defendants received lesser sentences fails to recognize the




P:\ORDERS\1-CRIMIN\2008\0177MResentence.wpd   100204.0840   100204.0840   3
        Case 4:08-cr-00177 Document 332 Filed on 02/04/10 in TXSD Page 4 of 4




importance of cooperation provided by those Co-Defendants, cooperation that Rakesh

Patel declined to provide.

           The Court carefully considered the full record and the parties’ arguments at

sentencing, made necessary findings, and calculated the applicable Guideline range

for Defendant. The Court then considered the relevant sentencing factors and

concluded that a sentence below the Guideline range was appropriate. Nothing

presented by Defendant in his Motion for Resentencing indicates to the Court that the

fifteen-month term of imprisonment should be reduced. Accordingly, because it lacks

jurisdiction under § 3582(c) and because the Court is not persuaded that the sentence

imposed should be modified, it is hereby

           ORDERED that the Motion for Resentencing [Doc. # 297] is DENIED.

Because the Motion for Resentencing has been denied, it is further

           ORDERED that the Motion for the Withdrawal of the Court’s Order to

Surrender [Doc. # 315] is DENIED.

           Signed at Houston, Texas, this 4th day of February, 2010.




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